         Case 3:19-cv-07071-SI       Document 413    Filed 12/19/24   Page 1 of 5


1
2

3

4
5

6

7
8                                 UNITED STATES DISTRICT COURT
9                          NORTHERN DISTRICT OF CALIFORNIA
10

11

12

13 FACEBOOK, INC. and INSTAGRAM, LLC,         Case No. 3:19-cv-07071-SI
14                  Plaintiffs,               CORRECTED [PROPOSED] ORDER
                                              GRANTING PLAINTIFFS’ EMERGENCY EX
15       v.                                   PARTE APPLICATION FOR A TEMPORARY
                                              RESTRAINING ORDER FREEZING ASSETS
16 ONLINENIC INC.; DOMAIN ID SHIELD           OF DEFENDANT LEASCEND TECHNOLOGY
   SERVICE CO., LIMITED; and XIAMEN           CO., LTD. FKA XIAMEN 35.COM INTERNET
17 35.COM INTERNET TECHNOLOGY CO.,            TECHNOLOGY CO., LTD., AND ORDER TO
   LTD.,                                      SHOW CAUSE WHY A PRELIMINARY
18                                            INJUNCTION SHOULD NOT ISSUE
                     Defendants.
19                                            Hon. Susan Illston
20

21

22
23

24

25
26

27

28

                                                1
                                                                   CORRECTED [PROPOSED] ORDER
                                                                          Case No. 3:19-cv-07071-SI
             Case 3:19-cv-07071-SI         Document 413         Filed 12/19/24      Page 2 of 5


 1          The Court, having read and considered Plaintiffs’ Emergency Ex Parte Application for a

 2   Temporary Restraining Order Freezing Assets of Defendant Leascend Technology Co., Ltd. fka Xiamen

 3   35.Com Internet Technology Co., Ltd. (“35.CN”), and good cause appearing, ORDERS that the

 4   application is GRANTED.

 5          It is further ORDERED that 35.CN show cause before the Honorable Susan Illston of the United

 6   States District Court for the Northern District of California, located at 450 Golden Gate Avenue, San

 7   Francisco, California 94102, Courtroom 1 – 17th Floor at ____ a.m./p.m. on ___________, 2024, why a

 8   preliminary injunction should not issue pursuant to Rule 65 of the Federal Rules of Civil Procedure, the

 9   Court’s inherent authority, and the All Writs Act that would, pending trial of this action, order as follows:

10          1.      35.CN shall immediately provide to the Court an accounting of all of its assets, including

11 but not limited to (a) all of 35.CN’s bank account numbers and those accounts’ respective balances as of

12 the date the order is entered; (b) 35.CN’s ownership interest in any companies, including in its wholly-
13 owned subsidiary Xiamen 35.com Information Co., Ltd. (“35.com Info”); and (c) any other tangible or

14 intangible assets, including 35.CN’s registrar business and accreditation (IANA 4163) currently held by

15 35.com Info, cash balances, accounts receivable, income, real estate, physical property, domain names, or
16 intellectual property.

17          2.      35.CN, as well as its officers, agents, servants, employees, or attorneys, or any other person

18 who is in active concert or participation with them, shall not transfer, sell, dissipate, abscond, hide, secret
19 away, borrow against, or pledge any of their assets, including 35.CN’s registrar business and accreditation

20 (IANA 4163) currently held by 35.com Info.

21          3.      Except to pay costs directly necessary to maintain and continue the day-to-day operations

22 of 35.CN’s business, 35.CN, as well as its officers, agents, servants, employees, or attorneys, or any other

23 person who is in active concert or participation with them, shall not:

24                  a)      Transfer, release, delete, or assign any tangible and intangible assets, including any

25                          domain names or intellectual property owned or controlled by 35.CN, including but

26                          not limited to the list of domain names and intellectual property attached to this

27                          Order as Exhibits 1 and 2, respectively;

28                  b)      Transfer or withdraw any funds from any bank account;

                                                           2
                                                                                CORRECTED [PROPOSED] ORDER
                                                                                     CASE NO. 3:19-CV-07071-SI
             Case 3:19-cv-07071-SI          Document 413        Filed 12/19/24      Page 3 of 5


 1                  c)      Transfer or use any funds from PayPal accounts and any other third-party payment

 2                          processor, except that those funds may be deposited into one of the bank accounts

 3                          identified in response to (1) above;

 4                  d)      Transfer or use any funds from Visa, MasterCard, American Express, or any other

 5                          credit card company as well as any credit card processing company, except that

 6                          those funds may be deposited into one of the bank accounts identified in response

 7                          to (1) above;

 8                  e)      Transfer or use any funds held in any attorney-client trust account;

 9                  f)      Sell, lease, loan, pledge, or otherwise encumber any physical assets or

10                          infrastructure, including any computer server or equipment of value;

11                  g)      Assign any employee compensation or benefit plan or requesting any return of such

12                          funds from the plan coordinator;

13                  h)      Sell, assign, or otherwise transfer any equity 35.CN owns in any other companies

14                          identified by 35.CN in response to (1) above; and

15                  i)      Assist, aid, or abet any other person or business entity in engaging in or performing

16                          any of these activities.

17          AND IT APPEARING TO THE COURT that 35.CN is dissipating and will continue to dissipate

18 its assets, it is further ORDERED that, pending hearing and determination of whether an injunction should
19 issue, 35.CN’s assets are temporarily restrained as follows:

20          1.      35.CN shall immediately provide to the Court an accounting of all of its assets, including

21 but not limited to (a) all of 35.CN’s bank account numbers and those accounts’ respective balances as of
22 the date the order is entered; (b) 35.CN’s ownership interest in any companies, including in 35.com Info;

23 and (c) any other tangible or intangible assets, including 35.CN’s registrar business and accreditation

24 (IANA 4163) currently held by 35.com Info, cash balances, accounts receivable, income, real estate,
25 physical property, domain names, or intellectual property.

26          2.      35.CN, as well as its officers, agents, servants, employees, or attorneys, or any other person

27 who is in active concert or participation with them, shall not transfer, sell, dissipate, abscond, hide, secret
28

                                                           3
                                                                                CORRECTED [PROPOSED] ORDER
                                                                                     CASE NO. 3:19-CV-07071-SI
             Case 3:19-cv-07071-SI          Document 413        Filed 12/19/24      Page 4 of 5


 1   away, borrow against, or pledge any of their assets, including 35.CN’s registrar business and accreditation

 2   (IANA 4163) currently held by 35.com Info.

 3          3.      Except to pay costs directly necessary to maintain and continue the day-to-day operations

 4   of 35.CN’s business, 35.CN, as well as its officers, agents, servants, employees, or attorneys, or any other

 5   person who is in active concert or participation with them, shall not:

 6                  a)      Transfer, release, delete, or assign any tangible and intangible assets, including any

 7                          domain names or intellectual property owned or controlled by 35.CN, including but

 8                          not limited to the list of domain names and intellectual property attached to this

 9                          Order as Exhibits 1 and 2, respectively;

10                  b)      Transfer or withdraw any funds from any bank account;

11                  c)      Transfer or use any funds from PayPal accounts and any other third-party payment

12                          processor, except that those funds may be deposited into one of the bank accounts

13                          identified in response to (1) above;

14                  d)      Transfer or use any funds from Visa, MasterCard, American Express, or any other

15                          credit card company as well as any credit card processing company, except that

16                          those funds may be deposited into one of the bank accounts identified in response

17                          to (1) above;

18                  e)      Transfer or use any funds held in any attorney-client trust account;

19                  f)      Sell, lease, loan, pledge, or otherwise encumber any physical assets or

20                          infrastructure, including any computer server or equipment of value;

21                  g)      Assign any employee compensation or benefit plan or requesting any return of such

22                          funds from the plan coordinator;

23                  h)      Sell, assign, or otherwise transfer any equity 35.CN owns in any other companies

24                          identified by 35.CN in response to (1) above; and

25                  i)      Assist, aid, or abet any other person or business entity in engaging in or performing

26                          any of these activities.

27          The above Temporary Restraining Order is effective immediately without requiring Plaintiffs to

28 file an undertaking. Any response or opposition to this Order to Show Cause must be filed and served on

                                                          4
                                                                                CORRECTED [PROPOSED] ORDER
                                                                                     CASE NO. 3:19-CV-07071-SI
             Case 3:19-cv-07071-SI        Document 413        Filed 12/19/24      Page 5 of 5


1    Plaintiffs’ counsel no more than ___ days before the date set for hearing, and any reply must be filed and

2    served no later than ___ days before the hearing.

3           It is further ORDERED that, pursuant to Rule 65(b) of the Federal Rules of Civil Procedure, any

4    Defendant can apply to this Court for modification/dissolution of this Temporary Restraining Order on

5    two-days’ notice or shorter notice as this Court may allow, but no such application shall serve to suspend

6    this Temporary Restraining Order or stay the terms herein unless otherwise ordered by this Court.

7

8           IT IS SO ORDERED.

9

10 DATED: _______________________                                ________________________________
                                                                 Susan Illston
11                                                               United States District Judge
12
13

14

15
16

17

18
19

20

21
22

23

24
25

26

27
28

                                                         5
                                                                              CORRECTED [PROPOSED] ORDER
                                                                                   CASE NO. 3:19-CV-07071-SI
